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ALLEN D. LINT,

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CLERK 8.5. BISTAICT COURT
WESTERN DISTRICT OF WASHINGTON
" AT TACOMA

 

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT TACOMA
UNITED STATES OF AMERICA, no. V\I 14 - SO8Ss
Plaintiff COMPLAINT FOR VIOLATION
21 U.S.C. § 841(a)(1), (b)(1\(A)
Vv.
Defendant.

 

 

 

 

BEFORE, J. Richard Creatura, United States Magistrate Judge, U. S. Courthouse,
Tacoma, Washington.

The undersigned complainant being duly sworn states:

COUNT 1
(Possession of LSD with Intent to Distribute)

On or about September 28, 2017, at Pierce County, within the Western District of
Washington, ALLEN D. LINT knowingly and intentionally did possess, with intent to
distribute, lysergic acid diethylamide (“LSD”), a substance controlled under Schedule I,
Title 21, United States Code, Section 812.

COMPLAINT/LINT - 1 UNITED STATES ATTORNEY
USAO# 2017R01011

700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
 

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It is further alleged that this offense involved 10 grams or more of a mixture or
substance containing a detectable amount of LSD.

All in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(A).

The undersigned complainant, Michael Fischlin, a Postal Inspector with the United
States Postal Inspection Service (“USPIS”) being duly sworn, further deposes and states
as follows:

INTRODUCTION

1. I am a Postal Inspector with the USPIS and have been so employed since
June 2016. I am currently assigned to the Seattle Division, Prohibited Mail Narcotics
Team, where I investigate controlled substances transported via the United States Mail. I
have attended a one-week training course presented by the USPIS addressing narcotics
investigations and trends in narcotics mailings. At that training, subject matter experts
taught current trafficking trends and suspicious parcel recognition.

2. Prior to becoming a Postal Inspector, I was employed as a Special Agent of
the United States Secret Service (“USSS”). As part of my training, I completed the
Federal Law Enforcement Training Center (“FLETC”) Criminal Investigator Training
Program as well as the USSS Special Agent Training Program. While employed by the
USSS, I was trained in computer forensics. Prior to joining the USSS, I served four
years of active duty in the United States Marine Corps as a military policeman.

3. As a Postal Inspector, I am authorized to investigate crimes involving
federal offenses relating to the U.S. Postal Service. During the course of my law
enforcement career, I have conducted or participated in criminal investigations involving
access device fraud, bank fraud, computer fraud, counterfeit currency and securities,
identity theft, illegal narcotics, mail theft, robbery, and wire fraud. My duties have
included planning the execution of search warrants; securing and searching premises;
seizing documents, records and other evidence; and interviewing witnesses.

COMPLAINT/LINT - 2 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO# 2017R01011 SEATTLE, WASHINGTON 98101
(206) 553-7970
 

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4, The facts set forth in this Affidavit are based on my own personal
knowledge; information obtained from other individuals during my participation in this
investigation, including other law enforcement officers; review of documents and records
related to this investigation; communications with others who have personal knowledge
of the events and circumstances described herein; and information gained through my
training and experience.

5. Because this Affidavit is submitted for the limited purpose of establishing
probable cause in support of a criminal complaint, it does not set forth each and every
fact that I, or others, have learned during the course of this investigation.

6. As discussed below, ALLEN LINT was selling drugs on the dark web
under the handle “llamadaddy.” LINT also purchased drugs on the dark web under the
handle “Northwest Wizard” that he then further distributed. Finally, LINT possessed in
his residence and elsewhere drugs that he intended to distribute, including 29.64 grams of
cardstock containing approximately 3,683 doses of LSD.

SUMMARY OF PROBABLE CAUSE
A. The Dark Web

7. The Onion Router” or “TOR” network is a special network of computers on
the Internet, distributed around the world, that is designed to conceal the true Internet
Protocol (“IP”) addresses of the computers accessing the network, and thereby the
locations and identities of the network’s users. TOR likewise enables websites to operate
on the network in a way that conceals the true IP addresses of the computer servers
hosting the websites, which are referred to as “hidden services” on the TOR network.
Such “hidden services” operating on TOR have complex web addresses, which are many
times generated by a computer algorithm, ending in “.onion” and can only be accessed
through specific web browser software designed to access the TOR network. Most
“hidden services” are considered dark web services with no legitimate or identified

service provider to which legal process may be served.

COMPLAINT/LINT - 3 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
USAO# 2017R01011 SEATTLE, WASHINGTON 98101
(206) 553-7970
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8. There are a number of marketplaces that have appeared on the dark web
that have offered contraband for sale, including narcotics. Users typically purchase
narcotics through these marketplaces using digital currency such as bitcoin.

9. Bitcoin is a type of digital currency. Bitcoin payments are recorded in a
public ledger that is maintained by peer-to-peer verification and is thus not maintained by
a single administrator or entity. Bitcoins are widely used to conduct both legitimate and
unlawful business. For example, Microsoft accepts bitcoins as payment for Xbox games
and services. On the other hand, bitcoins were the payment used on the Silk Road, a
website on the dark web that offered drugs and other contraband for sale.

B. Cooperating Defendant #1

10. Based on my investigation, and information relayed to me by other law

enforcement personnel, I am aware that in May 2017, federal agents executed a search of

the residence of Cooperating Defendant #1 (“CD1”).! CD1 admitted ves s/s

  
 

vendor on the dark web. CD1 also advised agents that he/she had s¢
person using the moniker “Northwest Wizard” via a dark web sita

things, narcotics. CD1 said that CD1 had sold drugs to Northwest Wizard? on fifteen to

etd, among other

twenty occasions, and that the quantities had increased over time, up to approximately
150 grams of LSD. For each transaction, Northwest Wizard paid for the drugs using
bitcoins. CD1 said that CD1 mailed the drugs to Northwest Wizard using the name and
address of: Christina Wynn 3024 112th Street East, Tacoma, Washington 98446.

11. CDI said that CD1 frequently communicated with Northwest Wizard via
encrypted messaging. According to CD1, Northwest Wizard indicated that he/sh

   
  

reselling drugs. Specifically, Northwest Wizard said that he/she had purclased a

recreational vehicle with the proceeds from the sale of one of the orders of MDMA tha

 

' CD1 provided information in the hope of receiving reduced charges or to avoid being charged at all. CD1 was

involved in narcotics trafficking, and the Court should assume that CD1 had a drug problem, and a prior criminal

history that involved acts of dishonesty.

2 It appears that the user of Northwest Wizard often used the moniker as a single word. For ease, two separate

words are used in this Affidavit.
COMPLAINT/LINT - 4 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO# 2017R01011 SEATTLE, WASHINGTON 98101

(206) 553-7970

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CD1 had sold him/her.
C. Cooperating Defendant #2

12. In August 2017, federal agents arrested Cooperating Defendant #2
(“CD2”), who admitted to selling fentanyl on multiple dark web markets. CD2 said that
CD2 knew of a person using the moniker “NW Wizard” who purchased fentanyl on the
dark web and also sold LSD on the dark web.

13. CD2 stated that CD2 delivered fentanyl in person to a man CD2 believed
was “NW Wizard” and that the address and telephone number for NW Wizard was saved
in one of CD2’s cellphones as “Wizard” or “Wizards.” CD2 stated that NW Wizard lived
in a house in Tacoma with two women and CD2 believed they were in an open
relationship.

14. | A search of CD2’s telephones revealed that a contact was saved on both
telephones as “Wizards.” On CD2’s iPhone 5 the contact was saved as “Wizards” with a
telephone number of (206) 313-3546, and on the iPhone 6 the contact was saved as
“Wizards” with an address of 3024 112th St. E, Tacoma, WA 98446. Using local and
law enforcement databases, a federal agent found that telephone number (206) 313-3546
is associated with a woman by the name Christina Marie Collins Wynn.

D. ‘The Philadelphia Investigation

15. In September 2017, federal agents approached a person on the east coast
who admitted to being a dark web vendor, hereafter confidential source 1 (“CS1”).* CS1
told agents he/she used a dark web marketplace to sell fentanyl. CS1 told agents that a

person in the Seattle, Washington area with a moniker “Northern Wizard”> had ordered

 

3 As with CD1, CD2 provided information in the hope of receiving reduced charges or to avoid being charged at all.
CD2 was involved in narcotics trafficking, and the Court should assume that CD2 had a drug problem, and a prior
criminal history that involved acts of dishonesty.
4 CS1 provided information in the hope of receiving reduced charges or to avoid being charged at all. CS1 was
involved in narcotics trafficking, and the Court should assume that CS1 had a drug problem, and a prior criminal
history that involved acts of dishonesty.
> It appears that CS1 misspoke and meant “Northwest Wizard” because CS1 later showed orders with that moniker
as opposed to “Northern Wizard.”

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700 STEWART STREET, SUITE 5220
USAO# 2017R01011 SEATTLE, WASHINGTON 98101

(206) 553-7970
 

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gram amounts of fentanyl from CS1 in the past. CS1 further explained that “Northern
Wizard” would typically order four grams of fentanyl about one to two times per week. I
know, based on my training and experience, and my consolation with other agents
involved in drug cases, that these quantities over this time-period are distribution-level
quantities of fentanyl.

16. Further information obtained from CS1 showed at least nine recent
packages sent to Christina Wynn at 3024 112th Street East, Tacoma, Washington 98446.
CS1 told agents that all of those shipments contained fentanyl.

17. Agents assumed CS1’s identity on a dark web marketplace. On or about
September 19, 2017, an HSI undercover agent (“UCA”) acknowledged an order for six
grams of fentanyl and 250 milligrams of carfentanil to a person using the moniker
“Northwest Wizard.” The UCA communicated with Northwest Wizard via encrypted
messaging. In the conversation, Northwest Wizard asked the UCA about a two-gram
shipment of fentanyl that was never received, and if she could order four grams more.
The UCA said he would do a custom order, replacing the two grams not yet received, and
adding four additional grams. The UCA offered all six grams of fentanyl for $2,400, to
which Northwest Wizard agreed. Northwest Wizard then asked if the UCA had any
carfentanil, while also providing the shipping address for the order as follows:

Christina Wynn
1521S. 55th St.
Tacoma, WA 98408

18. The UCA then told Northwest Wizard that he could supply 250 milligrams
of carfentanil for $400; $2,800 total for the whole order, and that it would be shipped in
one package. Northwest Wizard then asked the UCA for a bitcoin wallet address to send
payment to, which the UCA provided. On or about September 24, 2017, the UCA
informed Northwest Wizard of receipt of 0.7620481 bitcoin. Northwest Wizard asked
the UCA to double package the order (one envelope folded inside another envelope), and
for the package to be sent overnight express. The UCA told Northwest Wizard that he

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700 STEWART STREET, SUITE 5220
USAO# 2017RO1011 SEATTLE, WASHINGTON 98101

(206) 553-7970
 

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had been having problems with United States Postal Service (“USPS”) lately and that he
would mail the parcel on Monday (i.e., September 25, 2017).
E. LINT’s Facebook Page

19. As discussed below, agents conducted a controlled delivery of the package
that Northwest Wizard had ordered. Prior to the delivery, agents conducted surveillance
of the residences associated with Northwest Wizard. During surveillance, agents
observed multiple people, including Wynn and ALLEN LINT.

20. On September 26, 2017, I located a Facebook profile under the name of
Allen Lint (Avvy). The profile picture for the account was of a white male and two white
females. The male strongly resembled LINT, and one of the females strongly resembled
Wynn. Under the account details section was the text: “just a deadhead trying to make it
after serving federal prison time for LSD. I am finishing my last 6 months in the custody
of halfway house hopefully to be on house arrest in Spokane in the next couple weeks.
Got my first visit home today and setup this facebook.” I located a photograph of a
business card uploaded to the Facebook account on April 14, 2017. The card was in the
name of ALLEN LINT, with a title of “Bitcoin Investment Consultant.” The card listed
several pieces of contact information, to include a Wickr profile of “northwestwizard”
and an e-mail address of “pinkavvy@hotmail.com”.

21. According to court records, LINT was sentenced to 66 months of
imprisonment and five years of supervised release on September 11, 2008, for
distribution of LSD. His term of supervised release expired in April 2017.

F. The Controlled Delivery and Search Warrant

22. On September 28, 2017, agents delivered a package of sham fentanyl and

carfentanil to 1521 S. 55th Street, Tacoma, Washington 98408. Agents then immediately

executed a federal search warrant at the premises.

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COMPLAINTILINT - 7 UNITED STATES ATTORNEY
USAO# 2017R01011 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
 

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23. | ALLEN LINT, Christina Wynn,° and others appeared to be residing in the
residence. Agents observed in the kitchen, as well as the dining table, devices and
material typically used in the distribution of controlled substances via the U.S. mail.
Specifically agents observed (1) an unknown suspected controlled substance in rock form
in a cellophane pouch, (2) an unknown suspected controlled substance in liquid form
contained in various vials, (3) a canister of methyl-sulfonyl-methane (frequently used as a
cutting agent for methamphetamine), (4) boxes of latex gloves, (5) a small scale, (6)
plastic bags of various sizes, (7) heat/vacuum sealing machine, (8) packing tape, (9)
unused USPS mail parcels/envelopes, (10) shipping labels, (11) a list of dozens of names
and addresses along with hand-written notes depicting amounts and types of controlled
substances next to each name, (12) and a trash can full of used packing materials, used
rolls of packing tape, used rubber gloves, and other trash. Agents also located a business
card in the name of LINT, with a title of “Bitcoin Investment Consultant.” The card
listed several types of contact information, including a Wickr profile of
“northwestwizard” and an e-mail address of “pinkavvy@hotmail.com.” This business
card was the same business card seen on LINT’s Facebook page.

24. Agents also discovered in the residence additional suspected controlled
substances; specifically, fentanyl, carfentanil, LSD, MDMA, psychedelic mushrooms,
black tar heroin, and other miscellaneous controlled substances. U.S. currency and other
monetary instruments, as well as documentary evidence of controlled substances
trafficking, such as packaging materials, drug paraphernalia, scales, and ledgers
(customer lists), were also seized from the residence.

25. | ALLEN LINT was interviewed on the scene after he provided his written

consent and waiver of his constitutional rights to have an attorney present during

 

6 On November 9, 2017, police responded to 1521 S. 55th Street, Tacoma, Washington 98408, .e., the residence
referenced throughout this subsection. When law enforcement arrived at the residence, they learned that Christina
Wynn had died. ALLEN LINT and others were at the residence. Wynn’s cause of death has not been officially
determined by State of Washington authorities at this time.

COMPLAINT/LINT - 8 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO# 2017R01011 SEATTLE, WASHINGTON 98101

(206) 553-7970
 

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questioning. LINT told agents that he was the dark web marketplace user named
“Northwest Wizard,” and that he conducted purchases of controlled substances from
other dark web marketplace vendors and paid for them with bitcoin. LINT stated he
purchased fentanyl on the Dream Market dark web market. LINT also told agents that he
sold drugs at various music festivals.

26. Agents asked LINT if he had bitcoins in a bitcoin wallet on his cellular
phone, to which LINT replied that he did. A federal agent retrieved LINT’s Samsung
Galaxy S6 (hereinafter “LINT’s Galaxy S6”) phone from the evidence custodian, and
asked LINT if he would unlock the phone using his thumbprint, to which LINT replied
that he would. After LINT unlocked the phone, a federal agent browsed the applications
(“apps”) on the phone. A federal agent discovered the app Mycelium, which is a bitcoin
wallet app. A federal agent asked LINT for permission to open the app, to which LINT
said yes. A federal agent touched the Mycelium icon which opened the app to the
wallet’s main balance screen. A federal agent observed a bitcoin balance of 3.8357743
bitcoins, with a value at the time of $15,649.81. LINT allowed agents to also view the
“transactions” screen, which showed dozens of transactions both inbound and outbound
from the bitcoin wallet.

27. A variety of suspected controlled substances seized from LINT’s residence
were submitted to the USPIS Forensic Laboratory for analysis. At the time of this
writing, analysis of some of the evidence has been completed. Laboratory analysis of the
cardstock showed that it contained LSD. The net weight of this cardstock was
approximately 29.64 gram and contained and an estimated 3,683 doses. Additional
cardstock was found to contain N, N-dimethyltryptamine, which is a Schedule I
controlled substance. Finally, laboratory analysis of a blue tablet labeled “STP” was
found to contain MDMA and 4-chloro-2, 5-dimethoxyamphetamine (“DOC”), which are

Schedule I controlled substances.

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COMPLAINT/LINT - 9 UNITED STATES ATTORNEY
USAO# 2017R01011 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
 

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G. Shipping Labels

28. During the search warrant, agents seized twenty-six printed USPS shipping
labels. The return address on each of the labels listed “GR Wholesale Gifts” or “GR
Wholesale” with the same return address in Tacoma, Washington. The labels were
addressed to people throughout the country. Investigation revealed that the labels were
purchased via Stampnik. Stampnik is a service that allows people to print shipping labels
from their home and pay with bitcoin.

29. | Stampnik records showed that all of the labels were part of multi-label
orders that were placed using the e-mail address “llamadaddy@protonmail.com.”’ These
same records showed that the e-mail “llamadaddy@protonmail.com” was associated with
approximately 648 Stampnik shipping labels. Significantly, each of these shipping labels
had a return address in Tacoma, Washington that was either fictitious or belonged to a
closed business. These labels had return shipping addresses from various closed or
fictitious businesses in Tacoma, Washington, and were addressed to individuals
throughout the United States.

30. As noted above, during the execution of the search warrant, law
enforcement seized a ledger that contained names, addresses, and quantities of controlled
substances believed to have been shipped to customers. This ledger contained
approximately 114 names and addresses. Stampnik records showed that the account
“lamadaddy@protonmail.com” was used to purchase and create shipping labels
addressed to each of the 114 names on the ledger.

31. | Stampnik records included USPS labels allegedly sent by US Gold and
Collectables [sic] with at least two different return addresses. One of the return addresses
associated with these Stampnik labels was 3024 112th St E, Tacoma, Washington.

During surveillance preceding the execution of the search warrant, a law enforcement

 

7 Based upon my training and experience, I know that ProtonMail is an encrypted e-mail service used by many
darkweb vendors, as it is based out of Switzerland with servers outside of the jurisdiction of the United States.

COMPLAINT/LINT - 10 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
USAO# 2017R01011 SEATTLE, WASHINGTON 98101
(206) 553-7970
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officer had seen a person resembling LINT at this address. Furthermore, according to
Washington State Department of Licensing records, LINT listed this as his home address
on his driver’s license.

H. Identification of LINT’s customer A.P.

32. As discussed above, a ledger seized from LINT’s residence contained the
names and addresses of 114 of LINT’s suspected customers. One of the individuals
listed on the ledger was “A.P.” The phrase “10, Ist class” appeared above A.P’s name
and address. Stampnik records show that on August 14, 2017, user
“llamadaddy@protonmail.com” ordered postage for a shipment from US Gold And
Collectables [sic] to A.P. in Alabama.

33. Onor about October 20, 2017, Army CID executed a warrant at A.P.’s
residence in Alabama. The warrant resulted in the discovery of marijuana, cannabidiol
oil, and marijuana edibles. Also seized from the residence was an Apple iPhone.

34. A search warrant was subsequently obtained to search the Apple iPhone.
Analysis of the iPhone revealed text messages with another subject regarding controlled
substances sold by “Ilamadaddy.” One text message from G.C. included the text
“Llamadaddy is back from vacay and he’s got some awesome new stuff.” The text
message included a screenshot of a listing by llamadaddy offering LSD for sale on the
Dream Market dark web marketplace. The first line of the product description was
“300ug White on White Unperf FAMILY LSD!!!” The screenshot showed Ilamadaddy
had 1,600 reviews with a 4.95 out of 5 rating. The image for the product was a skull
filled with a flower, which appeared to be a variation of a logo for the band The Grateful
Dead.

35. Another text message from G.C. included a screenshot of the terms and
conditions section for a profile that, based upon my training and experience, I recognized
as the terms and conditions section for Dream Market. The terms and conditions seen in
the screenshot include the text, “incase dream goes down: llamadaddy@protonmai.com,”

and “If you want to check tracking, please make sure it has been at least 7 days since you

COMPLAINT/LINT - 11 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO# 2017R01011 SEATTLE, WASHINGTON 98101

(206) 553-7970
 

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ordered and send me a message or preferable an email at llamadaddy@protonmail.com
with your order info and shipping info and I will check your tracking asap and get back to
you. thanks!”

I. llamadaddy Dream Market Profile

36. On November 22, 2017, I navigated to Grams, which is a search engine on
the dark web. I conducted an InfoDesk query for llamadaddy. The query revealed
llamadaddy was a vendor on Dream Market.® In addition, the query showed the Pretty
Good Privacy (“PGP”) public key for llamadaddy.

37. Based upon my training and experience, I know that PGP is used on dark
web markets to encrypt communications between vendors and customers. When a
customer orders from a vendor or sends a vendor a message on a dark web market, that
information may be stored in the marketplace’s database. Given concerns that the
marketplace server may be hacked or seized by law enforcement, vendors and customers
often communicate via PGP encrypted devices to address this security problem.

38. A vendor has both a PGP private key and a public key. A customer can use
the vendor’s public key to encrypt a message. The vendor then uses their private key to
decrypt the message. Vendors keep their private key secure but not their public key,
which they put on their profile. This is done so customers may use a vendor’s PGP
public key to encrypt data sent to the vendor, such as the customer’s name and address.
Only the corresponding PGP private key, held by the vendor, can decrypt the data.

39. =I subsequently reviewed a screenshot of the PGP public key for Northwest
Wizard, which had been taken by an HSI UCA when the UCA accepted an order from
Northwest Wizard on Dream Market. I compared the PGP public keys for Northwest
Wizard and llamadaddy. The PGP public key for both accounts matched, which meant

they were controlled by the same person or persons.”

 

8 InfoDesk is a collector of dark web vendor identities.

° It is unknown for what period of time the Northwest Wizard and Ilamadaddy accounts shared the same PGP keys.

However, based upon investigation in this case, I know that the llamadaddy account used at least one different PGP
COMPLAINT/LINT - 12 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
USAO# 2017R01011 SEATTLE, WASHINGTON 98101

(206) 553-7970
 

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40. On December 13, 2017, I reviewed the Facebook profile under the name of
“Allen Lint (Avvy).” I located a photograph of LINT in which a tattoo can be seen on his
chest. The tattoo is of the lightning skull logo, with wings, and the word “FAMILY”
above the skull. The lightning skull logo is cover art from an album by The Grateful
Dead. The tattoo resembled the image for product sold by llamadaddy on Dream Market,
as seen on the Apple iPhone recovered from A.P.’s home.

41. OnFebruary 2, 2018, I located the llamadaddy vendor account on Dream
Market dark web website. The llamadaddy account showed a status of “on vacation”
with a last active date of September 29, 2017. It should be noted this was one day after
the search warrant was executed at LINT’s residence. Dream Market showed
llamadaddy had joined the market on May 23, 2016. The llamadaddy account had 1,700
reviews with a 4.93 out of 5 rating. Due to my experience, I know that a review is
generally associated with an order, suggesting that Ilamadaddy had fulfilled 1,700 orders
in approximately a sixteen-month period. The profile picture for the account was of a
llama. !°

42. The llamadaddy account had three pages of product listings on the Dream
Market. I was able to review the first page of product listings. The products included
LSD, MDMA, and cannabis. The listings by llamadaddy on Dream Market showed the
products would be shipped via USPS.

43. The LSD listings included a product image of a skull filled with a flower,
which appeared to be a variation of a logo for the band The Grateful Dead. This was the
same logo associated with the llamadaddy listing found on A.P.’s Apple iPhone. A
listing by llamadaddy for Starburst Crush high grade cannabis included the product

 

key. Specifically, on February 2, 2018, I visited the Ilamadaddy account. At that time, a different PGP key was
associated with the account than the one referenced in the above paragraph.
1° On LINT’s Facebook page, there is a photograph that was uploaded on December 21, 2015, in which LINT is
wearing a shirt with the word “llama.”

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700 STEWART STREET, SUITE 5220
USAO# 2017R01011 SEATTLE, WASHINGTON 98101

(206) 553-7970
 

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description “Grown in greenhouse in the Pacific Northwest. Organic and flushed well.
Tastes great and very good high.” .

44. Another listing was for 1 x 4mg STP ACID Microdot Barrel (DOM), which
included an image of tablets labeled “STP.” The photograph for the listing was a pile of
blue and pink tablets on a white surface labeled “STP.” The first sentence of the product
description was “STP is a type of “acid” that has a rich history in the psychedelic world.”
It should be noted that tablets labeled “STP” were recovered during the execution of the
search warrant at LINT’s residence in September 2017. As noted, these tablets were
found to contain MDMA and DOC.

J. Search of LINT’s Galaxy S6

45. On January 17, 2018, a federal search warrant was obtained authorizing the
search of two cell phones that were seized from LINT’s residence in September 2017.
One of the phones was LINT’s Galaxy S6 that he had unlocked and showed agents.

46. During review of LINT’s Galaxy S6, numerous text messages were located
which related to the dark web and the sale of narcotics thereon. For example, the phone
included the saved contact “Likia Macaffee.” The number associated with this contact
was (XXX) XXX-4366 (hereinafter “MACAFFEE PHONE”). I observed the following
text message sent to MACAFFEE PHONE on December 13, 2016 (all times in Pacific
Time):

LINT’s Galaxy S6: 11:38 AM “J have Isd on blotter, in water, and in

| alcohol. And i have barn grown cyanescens
mushrooms. Also have DOM aka STP. Also 2c-T-7.
Also mecaline hcl. Lots of others too”

47.  L observed the following exchange with an unnamed contact at number
(XXX) XXX-2095 (“hereinafter “UNNAMED CONTACT”) on January 14, 2017:

UNNAMED CONTACT: 4:53 PM “Fwd: Vial of the best tasteless liquid Isd.

And an oz of mdma. I want the same 1 as last time or

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USAO# 2017R01011 700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101

(206) 553-7970
 

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UNNAMED CONTACT:

UNNAMED CONTACT:

LINT’s Galaxy S6:

UNNAMED CONTACT:

same quality please dnt wana go bak to selling that
powder he”

4:53 PM “Fwd: gave me. The rock mdma is choice.
Great feedback”

5:06 PM “HI wiz. What do you have available? You
haven’t had any ketamine. If and when you get any
please let me know. Those texts I forwarded to you are
from my kid”

5:43 PM “I have the good tasteless needlepoint Isd in
stock in water, alcohol, or blotter. Also have the old
metallic tasting silver LSD in alcohol or blotter. ?’m
about to make an order for some of that good Rocky
MDMA from my same dude that sent the last time to
you guys Direct. Can get k from him too. I'll check
prices and let you know”

5:50 PM “Thanks wiz”

48. The phone also contained the name “Josh K.” The number associated with
the contact was (XXX) XXX-3301 (hereinafter “JOSH PHONE”). I observed the
following text messages sent to JOSH PHONE on March 2, 2017:

LINT’s Galaxy S6:

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2:37 PM “I’ve been selling online and got people who
order lbs of weed and 5 packs here and here, Ibs of oil
occasionally too. If you’re willing to seal and ship a Ib
here and there to an address I send you, that would be
awesome. I could just send you the order and address
and pay you directly and you can ship it directly
instead of me needing to go down to Oregon and pick
something up and then shipping it or somebody
bringing something and shipping it” |
700 StewaRt SrRest, SUITE 5220

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LINT’s Galaxy S6:

2:40 PM “All darknet and secure lol”

49. lL observed the following exchange between the LINT’s Galaxy S6 and the
MACAFFEE PHONE on July 21, 2017:

LINT’s Galaxy S6:
MACAFFEE PHONE:

MACAFFEE PHONE:
LINT’s Galaxy S6:
MACAFFEE PHONE:
MACAFFEE PHONE:
LINT’s Galaxy S6:
LINT’s Galaxy S6:

MACAFFEE PHONE:
LINT’s Galaxy S6:

MACAFFEE PHONE:
LINT’s Galaxy S6:

10:06 PM “See what’s happening online? Darknet
markets takedown”

10:06 PM “No, was it in the news? What were they
doing?”

10:07 PM “Will that effect you?”

10:10 PM “Yes”

10:10 PM “That’s scary”

10:11 PM “Did you use Alpha Bay?”!!

10:12 PM “No but dream”

10:12 PM “It is not down but there is speculation
about it being compromised”

10:13 PM “What happens next? Are there any
effective counter methods?”

10:14 PM “Don’t know”

10:17 PM “How serious is this for you?”

10:24 PM “Don’t know yet. 99% of income”

50. IL observed the following exchange between LINT’s Galaxy S6 and
MACAFFEE PHONE on September 14, 2017:

MACAFFEE PHONE:

 

3:14 PM “Hi love, is there a tracking number for Elias’
package? He just checked the PO Box and it’s not
there. He is leaving tomorrow and needs to figure out

29

how

‘| Based upon my training and experience, I know that AlphaBay was a website on the dark web that offered drugs
and other contraband for sale. Furthermore, I know that AlphaBay was seized by U.S. law enforcement in early July
2017 and that the specifics of the seizure were released to the public on or about July 20, 2017.

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700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
 

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LINT’s Galaxy S6:

MACAFFEE PHONE:

LINT’s Galaxy S6:

MACAFFEE PHONE:

LINT’s Galaxy S6:

LINT’s Galaxy S6:

MACAFFEE PHONE:

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MACAFFEE PHONE:

LINT’s Galaxy S6:

3:17 PM “I thought he was leaving Saturday? I’ll be
home in about an hour and I’1l look up tracking”
3:18 PM “Nope, he comes home tomorrow”

3:19 PM “Hopefully he gets it before he leaves it takes
a few days to get to alaska even express. They said it
would be either today or tomorrow”

3:21 PM “Oh shoot. I thought you said wed/thurs.
Hmmm. Not sure what to do. Ok, Ill let him know.
Thank love, xoxo”

4:17 PM “Hmm its looking like it didn’t even start
moving until the next day tho when I bought the
postage they said that the days express hadn’t gone it
yet :/ but its saying tomorrow”

4:18 PM “9205590175547700002686 1225”

4:32 PM “Ok thanks for checking :) Is the return
address any good?”

4:32 PM “What exactly is in the box?”

4:34 PM “No the return address is to a random store”
4:34 PM “7g clear, 20z mushrooms”

4:43 PM “Oh good, I think can get rid of that in an
hour or two and make it to the plane no problem :)”
4:43 PM “Problem solved :)”

4:43 PM “*he can”

4:45 PM “Awesome ;)”

51. | Stampnik records showed that the label mentioned above,

92055901755477000026861225, was one of the labels ordered by
llamadaddy@protonmail.com. Stampnik records showed the label was addressed from

HH Gifts, 3109 6th Avenue, Tacoma, Washington to Elias Nelson, PO Box 449, Yakutat,

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700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
 

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Alaska. Based upon an open source search, I was not able to locate the business “HH
Gifts” in the State of Washington.

52. In addition to the above note text messages, law enforcement recovered
from LINT’s Galaxy S6 a digital photograph of a pile of blue and pink tablets on a white
surface labeled “STP.” Metadata associated with the photograph shows that it was taken
on March 2, 2017, and that the device used to take the photograph was a Samsung Galaxy
S6. Additionally, a minute after the picture was taken, LINT’s Galaxy S6 sent a message
to “pinkavvy@hotmail.com” with the photograph as an attachment. The email address
“pinkavvy@hotmail.com” was the e-mail address on the business card in LINT’s name
that was found during the search of his residence in September 2017.

53. Ascan be seen below, this photograph matches the photograph used for the
llamadadddy listing of STP ACID Microdot Barrel (DOM) on Dream Market:
Photograph from LINT’s Galaxy S6:

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700 STEWART STREET, SUITE 5220
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(206) 553-7970
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Photograph from Dream Market llamadadddy listing:

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K. Public Storage Unit

54. On December 1, 2017, I learned that the Pierce County Sheriff's Office had
been contacted by a concerned citizen who had purchased an auctioned storage unit from
Public Storage in Puyallup, Washington. Upon reviewing the contents of the unit, the
citizen found suspected controlled substances and documents in the name of LINT. The
citizen subsequently contacted the Pierce County Sheriff's Office and provided Deputy
Nordstrom with the contents of the storage unit.

55. On December 4, 2017, I retrieved the storage unit contents from Deputy
Nordstrom. I transported the items to the USPIS Seattle Division Headquarters and
secured them within the evidence vault. Among the items obtained from the storage unit
were several suspected controlled substance, including LSD. In addition, there were
several documents in the name of LINT with an address of 2359 Franklin Ave E Unit A,
Seattle, WA.

56. Several documents recovered from the storage unit in LINT’s name were
submitted to the HSI Forensic Laboratory for latent print evidence. Eighteen latent finger

impressions of comparative value were developed. A comparison of the latent finger

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700 STEWART STREET, SUITE 5220
USAO# 2017RO1011 SEATTLE, WASHINGTON 98101

(206) 553-7970
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impressions versus the known print impressions of LINT was completed. Fifteen of the
latent finger impressions developed have been identified as the fingerprints of LINT.
57. Plastic wrappings in which suspected LSD was found were also submitted

to the HSI Forensic Laboratory for latent print evidence. Nine latent finger impressions

|| of comparative value were developed. A comparison of the latent finger impressions

versus the known print impressions of LINT was completed. Eight of the latent finger
impressions developed have been identified as the fingerprints of LINT.

CONCLUSION

58. Based on the foregoing, I respectfully submit that there is probable cause to
believe that LINT committed the crime of possession of LSD with intent to distribute, in
violation of Title 18, United States Code, Sections 841(a)(1) and (b)(1)(A).

Med. Yad
MICHAEL FISCHLIN, Complainant
Inspector, USPIS

Based on the Complaint and Affidavit sworn before me pursuant to CrimRule 4.1,
the Court hereby finds that there is probable cause to believe the Defendant committed
the offense set forth in the Complaint.

Dated this _4/-x¢ __ day of April, 2018.

J. RKCHARD CREAT
United States Magistrate Judge

COMPLAINT/LINT - 20 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
USAGH# 2017R01011 SEATTLE, WASHINGTON 98101
(206) 553-7970
